Case 5:17-cv-00003-MFU-JCH Document 109 Filed 02/28/19 Page 1 of 1 Pageid#: 727


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 M T EEN H ALEE M ,                                                                    CLF J


          Plaintiff,

 V.                                                CivilAction N o.:5:17-cv-00003

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                                                   ChiefUnited StatesDistrictJudge
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